
ATTORNEY DISCIPLINARY PROCEEDINGS
PER CURIAM.
Respondent was arrested and charged with three counts of possession of a Schedule I controlled dangerous substance. Pri- or to the filing of formal charges, respondent and the Office of Disciplinary Counsel submitted a joint petition for consent discipline, in which the parties stipulated that respondent has violated Rules 8.4(a) and 8.4(b) of the Rules of Professional Conduct. Having reviewed the petition,
IT IS ORDERED that the Petition for Consent Discipline be accepted and that *505Michael Kevin Powell, Louisiana Bar Roll number 25324, be suspended from the practice of law for a period of one year and one day, retroactive to April 25, 2012, the date of his interim suspension.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme C.ourt Rule XIX, § 10.1, with legal interest to commence thirty days from the date of finality of this court’s judgment until paid.
